            Case 2:09-cv-00177-FJM Document 1 Filed 01/29/09 Page 1 of 5




Carlene M. Simmons
Macey & Aleman, P.C.
101 N. First Ave., Suite 2430
Phoenix, AZ 85003
Tel: 1.866.339.1156
Fax: 1.312.822.1064
cms@legalhelpers.com
Attorney for Plaintiff

                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF ARIZONA
                                    PHOENIX DIVISION

Jeff Luechtefeld                                          Case No.:
14520 E. Kern Court
Fountain Hills, AZ 85268                                  Judge:

         Plaintiff,                                          COMPLAINT FOR DAMAGES
                                                               UNDER THE FAIR DEBT
v.                                                          COLLECTION PRACTICES ACT,
                                                          INVASION OF PRIVACY, AND OTHER
I.C. Systems, Inc.                                               EQUITABLE RELIEF
c/o CT Corporation System
2394 E. Camelback Rd.
Phoenix, AZ 85016                                          JURY DEMAND ENDORSED HEREIN

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692 and under the doctrine of Supplemental Jurisdiction pursuant

     to 28 U.S.C. §1367(a). Venue is proper because a substantial part of the events giving rise to

     this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).




                                                      1
           Case 2:09-cv-00177-FJM Document 1 Filed 01/29/09 Page 2 of 5




4. At the time of the communications referenced herein, Defendant either owned the debt or

   was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around December 23, 2008, Defendant telephoned Plaintiff’s father (“Father”).

8. During this communication, Defendant disclosed to Father that Plaintiff owed the debt.

9. During this communication, Defendant spoke to Father in a harassing, oppressive, and

   abusive manner.

10. During this communication, Defendant threatened to sue Plaintiff if the debt was not satisfied

   immediately.

11. On or around January 10, 2009, Defendant telephoned Father.

12. During this communication, Defendant spoke to Plaintiff in a harassing, oppressive, and

   abusive manner.

13. During this communication, Father notified Defendant that Defendant could not reach

   Plaintiff at Father’s residence.

14. Despite this notice, Defendant telephoned Father on or around January 12, 2009.

15. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

16. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

17. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




                                                  2
           Case 2:09-cv-00177-FJM Document 1 Filed 01/29/09 Page 3 of 5




18. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party and failed to

   comply with 15 U.S.C. §1692b.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

19. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

20. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party and

   disclosed that Plaintiff owed the debt.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

21. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

22. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party more than

   once and is without justification for multiple contacts.

                                          COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

23. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

24. Defendant violated 15 U.S.C. §1692d in that Defendant used obscene and/or abusive

   language during its communications in connection with the collection of the debt.

                                           COUNT FIVE

                       Violation of the Fair Debt Collection Practices Act

25. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

26. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.




                                                  3
           Case 2:09-cv-00177-FJM Document 1 Filed 01/29/09 Page 4 of 5




                                             COUNT SIX

                        Violation of the Fair Debt Collection Practices Act

27. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

28. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

    communications with Plaintiff.

                                            COUNT SEVEN

                        Violation of the Fair Debt Collection Practices Act

29. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

30. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                            COUNT EIGHT

                   Invasion of Privacy by Public Disclosure of a Private Fact

31. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

32. Defendant released information which was private to Plaintiff and concerned Plaintiff’s

    private life to Plaintiff’s Father.

33. Defendant’s disclosure of Plaintiff’s debt and the threat of legal action to this person is

    highly offensive.

34. The information disclosed is not of legitimate concern to the public.

                                            JURY DEMAND

35. Plaintiff demands a trial by jury.

                                          PRAYER FOR RELIEF

36. Plaintiff prays for the following relief:




                                                  4
Case 2:09-cv-00177-FJM Document 1 Filed 01/29/09 Page 5 of 5




a. Judgment against Defendant for actual damages, statutory damages, and costs and

   reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

b. Judgment, in an amount to be determined at trial, against Defendant for the

   Invasion of Privacy by Public Disclosure of a Private Fact.

c. For such other legal and/or equitable relief as the Court deems appropriate.

                                 RESPECTFULLY SUBMITTED,

                                 Macey & Aleman, P.C.

                                 By: /s/ Carlene M. Simmons
                                 Carlene M. Simmons
                                 101 N. First Ave., Suite 2430
                                 Phoenix, AZ 85003
                                 Tel: 1.866.339.1156
                                 Fax: 1.312.822.1064
                                 cms@legalhelpers.com
                                 Attorney for Plaintiff




                                     5
